Case 2:23-cv-03885-LMG-LDW Document 225 Filed 01/23/25                        Page 1 of 1 PageID:
                        UNITED STATES DISTRICT COURT
                                    10584
                           DISTRICT OF NEW JERSEY

                                MINUTES OF PROCEEDINGS



NEWARK                                                       DATE: November 26, 2024

JUDGE: Leo M. Gordon
COURT REPORTER: Melissa Mormile
DEPUTY CLERK: Sharay M. Featherstone
                                                             Civ. 23-cv-3885 and 23-cv-21728


Title of Case:

State of New Jersey, et al. v. United States Department of Transportation, et al.
and Sololich, et al., v. United States Department of Transportation, et al.

Appearances:

Randy M. Mastro, Esq. and Lauren Myers, Esq. for State of NJ Plaintiff
Randee M. Matloff, Esq, and Bruce Nagel, Esq. for Consolidated Plaintiffs Mark Sokolich and
Richard Galler
Gregory M. Cumming, Esq., Alex Silagi, Esq., Samantha G. Peltz, Esq., Shari Howard,
Esq., for US Department of Transportation Defendant
Mark A. Chertok, Esq., Elizabeth Knauer, Esq., Roberta Kaplan, Esq., and Andrew Otis, Esq.
and D. Brandon Tice, Esq. for Intervenor Defendants
John Reichman, Esq. for Amici parties
Cynthia L. Siderman, Esq. and Andrew Otis, Esq. for Amici parties
David Mateen, Esq. for Amici party County of Bergen


Nature of Proceeding:    In-chambers status conference

In-chambers status conference held.



Time Commenced 10:00 a.m.
Time Adjourned 12:20 p.m.
Total time:  2 hrs. 20 minutes

cc: chambers                                                 /s/ Nitza Creegan
                                                             Sr . Courtroom Deputy
